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4                     UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
5                                   ****
6    UNITED STATES OF AMERICA, )
                                    )
7                   Plaintiff,      )
8                                   )   CASE NO. 2:24-CR-00091-ODW
     v.                             )
9                                   )
10   ALEXANDER SMIRNOV,             )
                                    )
11                  Defendant,      )   [PROPOSED] ORDER
12   _______________________________)
13         Upon reviewing Defendant’s Ex Parte Motion for an Order Shortening Time
14
     to be heard on his Motion to Reopen Detention Hearing and Impose Conditions of
15

16   Release (Dkt 75), and with good cause appearing, said Motion is GRANTED, as
17   follows below.
18
           The Court ORDERS that the hearing on Defendant’s Motion (Dkt 75)
19

20   currently scheduled for June 24, 2024, at 10:00am is hereby advanced so that the
21
     Motion will be heard on the 17th day of June, 2024, at the hour of10:00 a.m.
22
           IT IS SO ORDERED.
23

24         Dated:
25
                                    ____________________________________
26                                  Honorable Otis D. Wright II
                                    United States District Judge
27

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